Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.1 Page 1 of 20




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 5
     Attorney(s) for Plaintiff Scanning Technologies Innovations, LLC
 6

 7
                    IN THE UNITED STATES DISTRICT COURT
 8                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9

10
      SCANNING TECHNOLOGIES                          CASE NO.: '21CV0360 AJB MDD
      INNOVATIONS, LLC
11
                         Plaintiff,                  COMPLAINT FOR PATENT
12                                                   INFRINGEMENT
      v.
13

14    EVENTS.COM, INC.,                         ,    JURY TRIAL DEMANDED

15                       Defendant.
16

17
           Plaintiff Scanning Technologies Innovations, LLC (“Plaintiff” or “STI”) files
18

19   this Complaint against Events.com, Inc. (“Defendant”) for infringement of United

20   States Patent No. 10,600,101 (hereinafter “the ‘101 Patent”).
21
                              PARTIES AND JURISDICTION
22

23         1.     This is an action for patent infringement under Title 35 of the United

24   States Code. Plaintiff is seeking injunctive relief as well as damages.
25
           2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
26

27   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
28   infringement arising under the United States patent statutes.
                                               1
                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.2 Page 2 of 20




 1
            3.     Plaintiff is a Texas limited liability company having an address of 1 East

 2   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
 3
            4.     On information and belief, Defendant is a California corporation having
 4

 5   a place of business at 7825 Fay Ave., Suite 100, La Jolla, CA 92037. On information

 6   and belief, Defendant may be served through its registered agent, Mitchell Thrower,
 7
     at the same address.
 8

 9          5.     On information and belief, this Court has personal jurisdiction over

10   Defendant because Defendant has committed, and continues to commit, acts of
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     infringement in this District, has conducted business in this District, and/or has
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13   engaged in continuous and systematic activities in this District.
14          6.     On information and belief, Defendant’s instrumentalities that are alleged
15
     herein to infringe were and continue to be used, imported, offered for sale, and/or sold
16

17   in this District.
18
                                            VENUE
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            7.     Venue is proper in this District 28 U.S.C. §1400(b) because Defendant
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21   is deemed to reside in this District. Alternatively, acts of infringement are occurring
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     in this District and Defendant has a regular and established place of business in this
23
     District.
24

25                              COUNT I
           (INFRINGEMENT OF UNITED STATES PATENT NO. 10,600,101)
26

27          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.3 Page 3 of 20




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           9.       This cause of action arises under the patent laws of the United States

 2   and, in particular, under 35 U.S.C. §§ 271, et seq.
 3
           10.      Plaintiff is the owner by assignment of the ‘101 Patent with sole rights
 4

 5   to enforce the ‘101 Patent and sue infringers.

 6         11.      A copy of the ‘101 Patent, titled “Systems and Methods for Indicating
 7
     the Existence of Accessible Information Pertaining to Articles of Commerce,” is
 8

 9   attached hereto as Exhibit A.

10         12.      The ‘101 Patent is valid, enforceable, and was duly issued in full
11
     compliance with Title 35 of the United States Code.
12

13         13.      The ‘101 Patent describes systems and methods for downloading a look-
14   up table from a server database to a mobile device via a communication network.
15
     ‘101 Patent, Abstract. The look-up table is configured to store a plurality of code
16

17   numbers associated with articles of commerce and a plurality of information link
18
     indicators. Id. Each indicator is associated with a respective code and article of
19
     commerce, and indicates the existence of a link to information about the article of
20

21   commerce. Id.
22
           14.      The ‘101 Patent recognizes problems associated with prior systems
23
     including that the mobile devices of prior systems take time to connect to the Internet
24

25   in order to access product information. ‘101 Patent, 1:59-67. Also, prior systems
26
     don’t readily indicate whether there is a link to additional information about the
27
     product. Id.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.4 Page 4 of 20




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           15.    Thus, the ‘101 Patent recognized a need to allow a consumer to readily

 2   determine whether product information is available for a product having an associated
 3
     product code. ‘101 Patent, 2: 3:11. A further need existed for a mobile device to
 4

 5   allow a consumer offline access to immediately determine whether the product

 6   information was available. Id.
 7
           16.    In certain embodiments, the ‘101 Patent includes a mobile device that is
 8

 9   configured to download a look-up table from a server and store the look-up table in a

10   local database. ‘101 Patent, 2:35-48. In response to receiving scan information
11
     regarding a product code, a processing device on the mobile device is configured to
12

13   look up the code in the look-up table to determine whether or not a link to information
14   about the associated product is available. Id.
15
           17.    The ‘101 Patent solves problems with the art that are rooted in computer
16

17   technology and that are associated with inventory management and the retrieval of
18
     information associated with articles of commerce. The ‘101 Patent claims do not
19
     merely recite the performance of some business practice known from the pre-Internet
20

21   world along with the requirement to perform it on the Internet.
22
           18.    The improvements of the ‘101 Patent and the features recited in the
23
     claims in the ‘101 Patent provide improvements to conventional hardware and
24

25   software systems and methods. The improvements render the claimed invention of
26
     the ‘101 Patent non-generic in view of conventional components.
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.5 Page 5 of 20




 1
           19.    The improvements of the ‘101 Patent and the features recitations in the

 2   claims of the ’101 Patent are not those that would be well-understood, routine or
 3
     conventional to one of ordinary skill in the art at the time of the invention.
 4

 5         20.    Upon information and belief, Defendant has infringed and continues to

 6   infringe one or more claims, including at least Claim 1, of the ‘101 Patent by making,
 7
     using, importing, selling, and/or offering for sale an event ticket management system
 8

 9   covered by one or more claims of the ‘101 Patent. Defendant has infringed and

10   continues to infringe the ‘101 Patent directly in violation of 35 U.S.C. § 271.
11
           21.    Defendant sells, offers to sell, and/or uses an inventory system including,
12

13   without limitation, the Events.com ticket management platform, any associated apps,
14   hardware and/or software, and any similar products (collectively, “Product”), which
15
     infringe at least Claim 1 of the ‘101 Patent.
16

17         22.    The Product provides an application for scanning QR codes to obtain a
18
     decoded link, which contains information about an article of commerce. Among other
19
     things, the Product provides an event ticket management solution in which a ticket
20

21   can be scanned (e.g., by way of a QR code present on the ticket) to obtain a decoded
22
     link, which contains information about an article of commerce (e.g., to display
23
     information related to a ticket when the code is scanned). Certain aspects of this
24

25   element are illustrated in the screenshots below and/or those provided in connection
26
     with other allegations herein.
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.6 Page 6 of 20




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                 PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.7 Page 7 of 20




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20         23.    The Product includes a mobile device comprising a portable handheld
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     housing and a communication interface configured to enable the mobile device to
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23
     communicate with a communication network. For example, the Product incorporates

24   a handheld device (e.g., mobile device with Product software) and a communication
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     interface (i.e., cloud-based communication interface and/or Internet) configured to
26

27
     enable the handheld device to communicate with a communication network. Certain

28   aspects of this element are illustrated in the screenshots below and/or those provided
                                              7
                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.8 Page 8 of 20




 1
     in connection with other allegations herein.

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                   PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.9 Page 9 of 20




 1
           24.    The Product uses a signal processing device and a visual input device,

 2   the visual input device affixed within the portable handheld housing. For example, a
 3
     visual input device (e.g., camera for scanning barcode) and signal processing device
 4

 5   (i.e., processor of handheld device) are affixed within the portable handheld housing

 6   (e.g., the housing of the mobile device). The mobile device camera is used to scan a
 7
     code and, via the Product’s server, obtain details related to a particular product (e.g.,
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 9   details about the ticket and event associated with the ticket). Certain aspects of this

10   element are illustrated in the screenshots below and/or those provided in connection
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     with other allegations herein.
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.10 Page 10 of 20




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  18         25.    The Product comprises digital files associated with the mobile device.
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       For example, the Product application has digital files (e.g., code image files, logos,
  20
       and digital product information) associated with the mobile device. Certain aspects of
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  22   this element are illustrated in the screenshots below and/or those provided in
  23
       connection with other allegations herein.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.11 Page 11 of 20




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             26.    The Product also includes a server in communication with the
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  15   communication network, the server comprising a server database configured to store
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       a look-up table that includes at least a plurality of bar codes associated with a plurality
  17

  18
       of articles of commerce. For example, the Product app communicates with a server

  19   through the communication network. The server has a look-up table (i.e., guestlist
  20
       which has associated guest details for a particular event). Also, the server database
  21

  22
       contains codes, each having associated information about the guest list. Certain

  23   aspects of this element are illustrated in the screenshots below and/or those provided
  24
       in connection with other allegations herein.
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.12 Page 12 of 20




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                  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.13 Page 13 of 20




   1
             27.    The look-up table also stores a plurality of information link indicators,

   2   each information link indicator associated with a respective bar code and article of
   3
       commerce. For example, the look-up table (i.e., remote database accessed by the
   4

   5   Product app/software) also stores a plurality of information link indicators (e.g., link

   6   indicating scanned product and/or validation of scanned code details associated with
   7
       the product, such as details associated with the ticket and/or the event associated with
   8

   9   the ticket) indicating information associated with a respective code. Certain aspects

  10   of this element are illustrated in the screenshots below and/or those provided in
  11
       connection with other allegations herein.
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.14 Page 14 of 20




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                  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.15 Page 15 of 20




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             28.    Each information link indicator is configured as a status signal indicating
  18
       the existence or absence of a link to information pertaining to a respective article of
  19

  20   commerce, the link being made to the information via the communication network.
  21
       For example, each information link which is obtained by scanning a code indicates a
  22
       status signal indicating the existence or absence of a link to information about a
  23

  24   respective article of commerce (e.g., link indicating validation of scanned QR code
  25
       ticket and details associated with ticket). The information associated with the link is
  26
       retrieved through the communication network. Certain aspects of this element are
  27

  28   illustrated in the screenshots below and/or those provided in connection with other
                                                 15
                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.16 Page 16 of 20




   1
       allegations herein.

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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.17 Page 17 of 20




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             29.   The visual input device is configured to scan an image of an article of
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  16   commerce, decode the image to obtain a code and forward data from the scanned
  17
       image to the signal processing device. For example, the visual input device (i.e.,
  18
       handheld device camera) is configured to scan an image of a code associated with an
  19

  20   article of commerce. After scanning the code, the code is decoded using Product
  21
       software, which may be located on the mobile device, to retrieve information about
  22
       the product. The information is forwarded to the signal processing device (i.e.,
  23

  24   processor of mobile device). Certain aspects of this element are illustrated in the
  25
       screenshots below and/or those provided in connection with other allegations herein.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.18 Page 18 of 20




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  19         30.    In response to receiving the bar code, the signal processing device (i.e.,

  20   mobile device) is configured to look up the code in the look-up table (i.e., remote
  21
       database) to determine from a respective information link (e.g., link to ticket/event
  22

  23   information) whether or not information pertaining to an article of commerce
  24   associated with the code (information about the associated ticket/event) may be
  25
       accessed via the communication network.         Certain aspects of this element are
  26

  27   illustrated in the screenshots below and/or those provided in connection with other
  28
       allegations herein.
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.19 Page 19 of 20




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             31.   Defendant’s actions complained of herein will continue unless
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       Defendant is enjoined by this court.
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  19         32.   Defendant’s actions complained of herein are causing irreparable harm
  20
       and monetary damage to Plaintiff and will continue to do so unless and until
  21
       Defendant is enjoined and restrained by this Court.
  22

  23         33.   Plaintiff is in compliance with 35 U.S.C. § 287.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
Case 3:21-cv-00360-CAB-MDD Document 1 Filed 03/02/21 PageID.20 Page 20 of 20




   1
                                       PRAYER FOR RELIEF

   2         WHEREFORE, Plaintiff asks the Court to:
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             (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
   4

   5   asserted herein;

   6         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
   7
       employees, attorneys, and all persons in active concert or participation with Defendant
   8

   9   who receive notice of the order from further infringement of United States Patent No.

  10   10,600,101 (or, in the alternative, awarding Plaintiff a running royalty from the time of
  11
       judgment going forward);
  12

  13         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
  14   accordance with 35 U.S.C. § 284;
  15
             (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
  16

  17         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
  18
       entitled under law or equity.
  19

  20   Dated: March 2, 2021                   Respectfully submitted,

  21
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  26
                                              Attorney(s) for Plaintiff Scanning
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                                              Technologies Innovations, LLC
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT EVENTS.COM, INC.
